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                        THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

CHELSEA E. MANNING,                 )
                                    )
                  Plaintiff,        )
v.                                  )               Civil Action No. 1:16-cv-02307
                                    )
DANIEL R. COATS, et al.,            )
                                    )
                  Defendants        )
____________________________________)

                                  Notice of Non-Opposition

       Plaintiff has filed and served a motion to amend the Complaint.         See Dkt. No. 9.

Defendants hereby provide notice that they do not oppose the Court granting plaintiff’s motion.

Pursuant to Federal Rule of Civil Procedure 15(a)(3) and the Court’s Minute Order of March 29,

2017, defendants will file their consolidated response to the pending motion for a preliminary

injunction along with their response to the Amended Complaint by May 22, 2017.

                                                    Respectfully submitted,

                                                    CHAD A. READLER
                                                    Acting Assistant Attorney General

                                                    CHANNING D. PHILLIPS
                                                    United States Attorney

                                                    ANTHONY J. COPPOLINO
                                                    Deputy Branch Director

                                                    /s/_ Robin Thurston__________________
                                                    Robin Thurston (Illinois Bar)
                                                    Trial Attorney
                                                    United States Department of Justice
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                                   Counsel for Defendants




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                                CERTIFICATE OF SERVICE

      I certify that on May 10, 2017, I mailed the foregoing motion by certified mail to plaintiff

Chelsea E. Manning at 1300 North Warehouse Road, Fort Leavenworth, KS 66027-2304.


                                             /s/ Robin Thurston
                                             ROBIN THURSTON




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